CaSe 8-17-74991-|38 DOC 15-6 Filed 12/06/17 Entered 12/06/17 11232:23

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

X Chapter 13
In re: Case No.: 17-74991-las
JOHN M. HOEK,
Debtor. AFFIDAVIT OF SERVICE
--- -X
STATE OF NEW YORK)
COUNTY OF SUFFOLK) ss.:

 

CANDICE RUSSELL, being duly sworn, deposes and says: Deponent is not a party to the
action is over 18 years of age and resides in Suffolk County, New York,

On Decernber 6, 2017, l served the Within Notice of Motion For An Order Avoiding the
Liens of Citibank, N.A. and Aladdin Fuel Service, Inc. With Exhibits upon the following
parties at the addresses designated by said parties for that purpose, by depositing a true copy of
same, enclosed in a post-paid properly addressed wrapper in an official depository under the
exclusive care and custody of the United States Postal Service within the State of New York:

Office of the U.S. Trustee

Long Island Federal Courthouse
560 Federal Plaza

Central Islip, NY 11722

Marianne DeRosa

Standing Chapter 13 Trustee
125 Jericho Tpke

Suite 105

Jericho, NY 11753

Fein, Such & Crane, LLP (via certified mail)
Attorneys for Citibank, N.A.

747 Chestnut Ridge Road

Suite 200

Chestnut Ridge, New York 10977

Citibank, N.A. (via certified inail)
399 Park Avenue

New York, NY 10043

Attn: President and Offices

Kirschenbaum, Phillips & Levy, P.C. (via certified mail)
Attorneys for Aladdin Fuel Service, Inc.

40 Daniel Street

Suite 7

Farniingdale, NY 11735

Aladdin Fuel Service, Inc. (via certified rnail)
806 Montauk Highway

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Bayport, NY 11705
Attn: President and Officers

ABN AMRO Mortgage Group, Inc. (via certified mail)
2600 W. Big Beaver Road

Troy, Michigan 48084

Attn: President and Officers

Planet Home Lending (via certified mail)
321 Research Parkway

Suite 303

Meriden, CT 06450

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/s/ Candice Russell

Sworn to before me this
6th day of December, 2017

/s/Loni Bragin

Loni Bragin

Notary Public, State of New York
No. 01BR6172194

Qualified in Suffolk County
Commission Expires August 6, 2019

Candice Russell

